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                     UNITED STATES DISTRICT COURT
                 IN THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

MARY GREINER,
   Plaintiff,
                                              Case No. 2:17-cv-13712-AJT-SDD
v.                                            Hon. Arthur J. Tarnow

EQUIFAX INFORMATION
SERVICES, LLC, et al.,
     Defendants.
__________________________________________________________________

            STIPULATION TO DISMISS CASE AGAINST
     DEFENDANT EQUIFAX INFORMATION SERVICES, LLC, ONLY,
         WITH PREJUDICE AND WITHOUT FEES OR COSTS

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties, as evidenced by the signatures of their respective counsel below, stipulate

to the dismissal of Plaintiff’s claims as to Defendant Equifax Information Services,

LLC, only, with prejudice and without attorney’s fees or costs to either party.



/s/ Gary D. Nitzkin                           /s/ Jordan S. Bolton w/ consent
Gary D. Nitzkin (P41155)                      Jordan S. Bolton (P66309)
Attorney for Plaintiff                        Attorney for Defendant Equifax
22142 West Nine Mile Road                     500 Woodward Avenue, Ste. 3500
Southfield, Michigan 48033                    Detroit, MI 48226-3435
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                      UNITED STATES DISTRICT COURT
                  IN THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MARY GREINER,
   Plaintiff,
                                            Case No. 2:17-cv-13712-AJT-SDD
v.                                          Hon. Arthur J. Tarnow

EQUIFAX INFORMATION
SERVICES, LLC, et al.,
     Defendants.
__________________________________________________________________

                 ORDER OF DISMISSAL AS TO
     DEFENDANT EQUIFAX INFORMATION SERVICES, LLC, ONLY
         WITH PREJUDICE AND WITHOUT FEES OR COSTS

      The Court, having reviewed the parties’ stipulation, and finding good cause

shown;

      IT IS HEREBY ORDERED that the within action as to Defendant Equifax

Information Services, LLC, only, is hereby dismissed with prejudice and without

fees or costs to either party.


Date: April 20, 2018                        s/Arthur J. Tarnow
                                            Judge of United States District Court
